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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

 UNITED STATES OF AMERICA                    §
                                             §
 V.                                          §          NO. 1:20-CR-00122(1)-RP
                                             §
 PAUL KRUSE                                  §


 DEFENDANT'S MOTION TO DISMISS THE CASE FOR LACK OF SUBJECT-
                   MATTER JURISDICTION

TO THE HONORABLE ROBERT PITMAN,
UNITED STATES DISTRICT JUDGE:

       PAUL KRUSE, through his attorneys Chris Flood and John Cline, moves for an

Order dismissing the case for lack of subject-matter jurisdiction. The Fifth Circuit has

declared repeatedly that a district court lacks subject-matter jurisdiction over felony

charges unless there is either an indictment or an information accompanied by a waiver of

the right to indictment. Because the record contains neither an indictment nor a waiver of

indictment, the Court lacks jurisdiction, and the case must be dismissed.

                                       ARGUMENT

       On May 1, 2020, the government filed an information purporting to charge Kruse

with seven felony offenses. Doc. 1. Kruse has made clear at all times that he does not

waive his right to indictment under U.S. Const. Amend. V and Fed. R. Crim. P. 7(a)(1)(B).

Similarly, he has preserved his objection to this Court's jurisdiction.

       The Fifth Circuit has recognized that "[i]n the absence of a valid waiver, the lack of

an indictment in a felony prosecution is a defect affecting the jurisdiction of the convicting
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court." United States v. Teran, 98 F.3d 831, 835 (5th Cir. 1996); see, e.g., United States v.

Moore, 37 F.3d 169, 173 (5th Cir. 1994) ("'Unless there is a valid waiver, the lack of an

indictment in a federal felony case is a defect going to the jurisdiction of the court.'")

(quoting United States v. Montgomery, 628 F.2d 414, 416 (5th Cir. 1980)); see also, e.g.,

United States v. Machado, 2005 U.S. Dist. LEXIS 26255, at *5 (D. Mass. Nov. 3, 2005)

("[T]he court has no subject matter jurisdiction over a prosecution in which the government

has filed an information without obtaining a valid waiver of indictment. . . . [A] court in

possession of an information but not in possession of a waiver of indictment lacks subject

matter jurisdiction over the case; such an information is virtually meaningless." (quotation

omitted)); United States v. Watson, 941 F. Supp. 601, 603 (N.D. W. Va. 1996) ("It is

beyond peradventure that the absence of a valid waiver of prosecution by indictment is a

jurisdictional defect that bars the acceptance of a guilty plea or the commencement of trial

on the relevant charges."); United States v. Wessels, 139 F.R.D. 607, 609 (M.D. Pa. 1991)

("Unless there is a valid waiver, the lack of an Indictment in a federal felony case is a defect

going to the jurisdiction of the court."); United States v. Clemenic, 1988 U.S. Dist. LEXIS

12601, at *8 (N.D. Ill. Oct. 24, 1988) ("[A] court only has jurisdiction over felony

proceedings brought on the basis of an indictment or brought upon an information where

there is a valid waiver of indictment.").1


1
  In United States v. Daughenbaugh, 549 F.3d 1010 (5th Cir. 2008), the court of appeals
observed that "because criminal defendants may waive the right to grand jury indictment,
see Fed. R. Crim. P. 7(b), a failure to actually secure such a waiver does not affect a district
court's power to hear a case." Id. at 1012 (citing United States v. Cotton, 535 U.S. 625
(2002)). But Daughenbaugh did not cite--much less distinguish or purport to overrule--
Teran, Moore, and Montgomery. And the circumstances of Daughenbaugh were vastly
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       Because the record contains neither an indictment nor a waiver of indictment, the

Court lacks subject-matter jurisdiction over this case.

                                      CONCLUSION

       For the foregoing reasons, the Court should dismiss the case for lack of subject-

matter jurisdiction.




different from this case. The defendant in Daughenbaugh had pleaded guilty to a felony
information after being expressly advised of, and acknowledging, his right to indictment
by a grand jury. All that was missing was an explicit waiver of that right in open court.
See 549 F.3d at 1011. Here, Kruse has not pleaded guilty; he has at all times asserted his
right to indictment by a grand jury; he has declined to waive that right; and he has expressly
reserved his objection to the Court's jurisdiction. Cotton, on which Daughenbaugh relied,
is even farther off the point. There, the defendant had been indicted by a duly constituted
grand jury; his only complaint was that the indictment did not plead the quantity of drugs
he was accused of distributing. See 535 U.S. at 628-31. That obviously non-jurisdictional
pleading defect bears no resemblance to the total failure properly to initiate a felony
prosecution at issue here.
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                                          Respectfully Submitted,


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                                          ATTORNEYS FOR PAUL KRUSE



                             CERTIFICATE OF SERVICE

        I hereby certify that on June 16, 2020, I electronically filed the foregoing document
with the Clerk of Court using the CM/ECF system which will send notification of such
filing to all counsel of record.

                                          /s/ Chris Flood
                                          Chris Flood




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